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                                              October 30, 2020

By ECF
                                                              11/2/2020
Honorable Paul A. Crotty                                      The Government and U.S. Marshals
United States District Judge                                  are directed to have Mr. Gaines
Southern District of New York                                 produced and appear at the SDNY
500 Pearl Street                                              before the Magistrate Judge as soon
New York, New York 10007                                      as possible. SO ORDERED.

Re:       United States v. Tony Gaines, 17 Cr. 233 (PAC)

Dear Judge Crotty:

       I write to inform the court of the status of Mr. Gaines’ return to the Southern District of
New York, and to respectfully request that the Court order the Government to produce Mr.
Gaines in this district as soon as practical. In short, Mr. Gaines was arrested on September 17,
2020; as of this writing, six weeks later, he is languishing under very difficult conditions in a
county jail in Oklahoma which has been cited for its deprivations and lax COVID-19 safeguards.

        Tony Gaines was arrested in North Carolina on September 17, 2020 for allegedly
violating the conditions of supervised release. He was presented there under Federal Rule of
Criminal Procedure 5(c)(3). Mr. Gaines did not challenge his continued detention, with the
expectation that he would be brought to the Southern District of New York within a reasonable
period of time. Cf. 18 U.S.C. § 3161(h)(F) (in the Speedy Trial context, indicating that a delay of
more than 10 days in transporting a defendant from one district to another was unreasonable).

       Instead, Mr. Gaines was left in a county jail in North Carolina for around three weeks,
and was then transported to Oklahoma, where he remains to this day. Mr. Gains is not being held
in a BOP facility, but is instead at the Grady County Jail, where the conditions are horrendous,
and COVID-19 is prevalent. See The Marshall Project, ‘Con Air’ is Spreading COVID-19 All
Over the Federal Prison System (August 13, 2020) (describing the horrific conditions at Grady:
“Grady prisoners have described having no hot water, no access to the outdoors or sunlight for
weeks, and no way to distance from one another in packed dorms. At least one Grady prisoner
has died from COVID-19.”). 1

       It has now been 43 days since Mr. Gaines’ arrest. We recognize that the COVID-19
pandemic puts strains on every aspect of the federal criminal justice system. It does not mean,
however, that a person should be kept in dangerous conditions, with limited access to counsel, in
perpetual limbo, for weeks on end. I respectfully request that the Court direct the Government to

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    Available at: https://www.themarshallproject.org/2020/08/13/con-air-is-spreading-covid-19-all-
    over-the-federal-prison-system.
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bring Mr. Gaines to this district as soon as practical, and to explain the reason for any further
delay.

                                              Respectfully submitted,


                                              /s/
                                              Martin S. Cohen
                                              Ass’t Federal Defender
                                              (212) 417-8737

cc:    Justin Rodriguez, Esq., by ECF
       Mr. Tony Gaines, Grady County Jail, by mail
